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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA

- against -                                              15-CR-95 (WFK)

ABDURASUL JURABOEV, et al.,

              Defendants.

---------------------------X

                               NOTICE OF APPEARANCE

              PLEASE TAKE NOTICE that Assistant United States Attorney J. Matthew

Haggans from this point forward will be added as counsel in the above-captioned matter.

              All future correspondence to the United States in the above-captioned matter

should be sent to:

              Assistant U.S. Attorney J. Matthew Haggans
              United States Attorney’s Office (Criminal Division)
              271 Cadman Plaza East
              Brooklyn, New York 11201
              Tel: (718) 254-6127
              Fax: (718) 254-6320
              Email: matthew.haggans@usdoj.gov
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              In addition, the Clerk of the Court is respectfully requested to ensure that all

future ECF notifications are sent to Assistant United States Attorney J. Matthew Haggans at

the email address set forth above.


Dated: Brooklyn, New York
       August 1, 2019
                                                Respectfully submitted,

                                                RICHARD P. DONOGHUE
                                                United States Attorney

                                        By:      /s/ J. Matthew Haggans
                                                J. Matthew Haggans
                                                Assistant U.S. Attorney

cc:    Clerk of the Court (WFK)
